GABROY LAW OFFICES
170 8. Green Valley Pkwy., Suite 280

Henderson, Nevada 89012
(702) 259-7777 FAX: (702) 259-7704

ARON

oOo PF “A

10
i]
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

7

 

Case 2:13-cv-00637-GMN-CWH Document1 Filed 04/15/13 Page 1 of 7

GABROY LAW OFFICES

Christian Gabroy, Esq. #8805)

The District at Green Valley Ranch

170 South Green Valley Parkway, Suite 280
Henderson, Nevada 89012

Tel (702) 259-7777

Fax (702) 259-7704

Jesse Sbaih and Associates

Jesse Sbaih, Esq. (#7898)

The District at Green Valley Ranch

170 South Green Valley Pkwy, Suite 280
Henderson, Nevada 89012

Tel (702) 896-2529

Fax (702) 896-0529

Attorneys for Plaintiff

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

DEBRA E. CAMP, individually and on
behalf of all other similarly situated;

Plaintiff,
Vs.

FIFTH STREET GAMING, LLC; A
Nevada Limited Liability Company, THE
SIEGEL GROUP NEVADA, INC; A
Nevada Corporation;
EMPLOYEE(SVAGENT(S) DOES 1-10;
AND ROE CORPORATIONS 11-20,
inclusive;

Defendants.

 

 

Case No.
Dept.:

COMPLAINT
(JURY DEMAND)

CLASS ACTION COMPLAINT

Plaintiff Debra E. Camp (“Plaintiff and “Class Representative’), individually and

on behalf of others similarly situated (“the Class”), by and through her attorneys,

Gabroy Law Offices and Jesse Sbaih and Associates, for her Class Action Complaint

Page 1 of 7

 
GABROY LAW OFFICES

170 8. Green Valley Pkwy., Suite 280

Henderson, Nevada 89012
(702) 259-7777 FAX: (702) 259-7704

oOo CO AIF DB tT BR UU

10
i]
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

7

 

 

Case 2:13-cv-00637-GMN-CWH Document1 Filed 04/15/13 Page 2 of 7

against Defendant Fifth Street Gaming LLC and Siegel Group Nevada, INC. (collectively
“Defendant”), states as follows:
JURISDICTION AND VENUE

1. This Court has jurisdiction over Plaintiffs WARN Act claim pursuant to 29
U.S.C. § 2104(a)(5).

2. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 (b)(2).

NATURE OF CLAIMS

3. Plaintiff Debra E. Camp, as class representative (the “Class
Representative’), brings this lawsuit under the Worker Adjustment and Retraining
Notification Act, 29 U.S.C. § 2101 et seg. (WARN Act”), for Defendant’s failure to pay
her, and other similarly situated persons all lawful wages owed under such statute and
for failure to give her, and other similarly situated persons, the required 60 day notice
under the WARN Act. Plaintiff demands a jury trial on all issues triable by jury. The true
names and capacities, whether individual, corporate or other business entity, of
Defendants DOES !-X and ROE corporation 1-X are unknown to Plaintiff. Piaintiff is
informed and believes and therefore alleges that the Defendant designated herein DOES
i-X and ROE corporation I-X were responsible in some manner for the events and
happenings herein referred to and damages thereby to the Plaintiff as alleged herein and
“Employer(s)” of Plaintiff as that term is defined. Plaintiff will petition this Court to amend
this Complaint to insert the true names of each party designated as Doe and/or Roe
Defendant when said parties are ascertained.

THE PARTIES
4. At all material times hereto, Plaintiff was Defendant’s “employee,” as that

term is defined by the WARN Act.

Page 2 of 7

 
GABROY LAW OFFICES

170 8. Green Valey Pkwy., Suite 280

Henderson, Nevada &9012
(702} 259-7777 FAX: (702) 259-7704

Oo co ~“S mH fo Fe WV NR

BS BO BF BO BD ORR OK OB meh ee et
“S OH Oh F&F Ww BR SC SO UUM UD OR BR BD OS

3
3

 

Case 2:13-cv-00637-GMN-CWH Document1 Filed 04/15/13 Page 3 of 7

5. Plaintiff is a resident of Clark County.

6. Defendant's principal place of business is located in Clark County,
Nevada.
7. Defendant, at ail material times hereto, was Plaintiff's “employer” as

that term is defined by the WARN Act.
BACKGROUND FACTS

8. At all material times hereto, Defendant operated, managed, and/or owned
a casino and hotel using the name “Siegel’s Goid Spike Hotel and Casino,” located at
217 Las Vegas Blvd North, Las Vegas, NV 89101.

9. At all material times hereto, Plaintiff worked as a cocktail waitress
for Defendant at Defendant's “Siegel’s Gold Spike Hotel and Casino.”

FACTS COMMON TO ALL CLAIMS

10. Onor about April 11, 2013, Plaintiff and members of the Class were given
notice for the very first time that they were being laid off as the “Gold Spike Casino”
would be closing April 14, 2013. See a true and correct copy of Defendant's notice and
Personnel Action Form attached hereto as Exhibit |. Based on information and belief,
Piaintiff and members of the Class were then given Personnel Action Forms which
stated that the reason for termination was “property closure.” See /d. On or between
April 11, 2013 and April 14, 2013, Plaintiff and members of her class were terminated
and/or laid off as the Gold Spike Casino closed. At no time were Plaintiff and members
of her class given lawful notice of the closing of the Gold Spike Casino and/or
termination of their employment. At no time were Plaintiff and members of her class

given lawful payment owed under the Warn Act.

Page 3 of 7

 
Oo 6 s Ww FH & WwW NHN

Prakash fmm rk:
mH th Se WwW Hw KF &

Henderson, Nevada $9012
(702) 259-7777 FAX: (702) 259-7704

—
I

170 S, Green Valley Pkwy., Suite 280

GABROY LAW OFFICES

we Ne Bw NM HN NM NM OD Re
sO OUR RN OO

?
2

 

Case 2:13-cv-00637-GMN-CWH Document1 Filed 04/15/13 Page 4 of 7

11. Plaintiff is informed and believes that, at a minimum, at least fifty other
employees who worked at Defendant's Gold Spike Casino also failed to receive
sufficient notice before the respective location was closed and they were laid
offiterminated. Combined, these terminated employees comprise the Class.

CLASS ACTION ALLEGATIONS

12. Plaintiff, the Class Representative, and the Class allege and incorporate
by reference the allegations in the preceding paragraphs.

13. | With respect to the claims brought under the WARN Act, 29 U.S.C. § 2101
et seq., the Class Representative seeks to represent the following class:

those persons who have been employed by Defendant who were not
given proper notice of a mass layoff and/or plant closing under the WARN
Act (hereinafter “WARN Class’).

14. The Class Representative satisfies this definition and therefore seeks
certification of this lawsuit as a class action in order that his rights and those of the
Class, insufficient notice and any other damages, be resolved.

15. This action is brought pursuant to the class action provisions of Fed. R.
Civ. P. 23 because the Class is so numerous that joinder of all Class Members is
impracticable. While the precise number of Class Members has not been determined at
this time, upon information and belief, Defendant employed over fifty people at all
material times hereto who satisfy the Class definition. The Class Representative and
the Class Members have been equally affected by Defendant's failure to provide the
required notice.

16. Furthermore, those Class members previously employed by Defendant

may now be reluctant to raise individual claims for fear of retaliation by Defendant.

Page 4 of 7

 
GABROY LAW OFFICES

170 S. Green Valley Pkwy., Suite 280

Henderson, Nevada 89012
€702)259-7777 FAX: (702) 259-7704

co  S HO A OF

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

m7

 

 

Case 2:13-cv-00637-GMN-CWH Document1 Filed 04/15/13 Page 5 of 7

17. The issues involved in this lawsuit present common questions of law and
fact, and these common questions of law and fact predominate over the variations
which may exist between members of the class, if any. These cornmon questions of
law and fact include, without limitation:

a) Whether Defendant unlawfuily failed to provide sufficient notice in
violation of the WARN Act, 29 U.S.C. § 2101 ef seq.;

b) The proper measure of damages sustained by the Class
Representative and the Class Members.

18. The Class Representative, Class Members, and Defendants, have a
commonality of interest in the subject matter and remedy sought. The Class
Representative is able to fairly and adequately represent and protect the interests of the
Class. The Class Representative, like other members of the Class, was subjected to
insufficient notice under the WARN Act. Also, the nature and terms of Plaintiff's
employment, duties and history with Defendant are typical of the duties of the Class
members. Finally, Plaintiffs Counsel is competent and experienced with regard to
complex civil litigation (including, but not limited to, class actions).

18. Individual actions by each member of the class injured or affected would
result in a multiplicity of actions, creating a hardship to the Class Members, the Court,
and Defendant. The damages suffered by the individual Class members are small
compared to the expense and burden of vigorous individual prosecution of this litigation
against Defendant. Accordingly, a class action is the superior method for the fair and
efficient adjudication of this lawsuit and distribution of the common fund to which the

Class is entitled.

Page 5 of 7

 
GABROY LAW OFFICES

170 8. Green Valley Pkwy., Suite 280

Henderson, Nevada 89012
(702) 259-7777 FAX: (702) 259-7704

_—

Ge

fe

Oo Oo ss BH

10
11
12
13
14
15
16
17
18
19
20
2]
22
23
24
25
26
27

aA

Case 2:13-cv-00637-GMN-CWH Document1 Filed 04/15/13 Page 6 of 7

COUNT |
(WARN Act Violation - 29 U.S.C. § 2101 et. seq.)

20. Plaintiff repeats and realleges the paragraphs 1-19 above as if fully
incorporated herein.

21. Defendant’s preceding acts violated the WARN Act, 29 U.S.C. § 2102, in
that Defendant failed to give any notice to the affected employees and/or any of the
various government agencies to which they were required by law to give notice, in
writing, at least 60 days prior to the termination and/or layoffs.
| 22. Defendant's employees - like Plaintiff - were terminated and/or laid
off without the statutorily required 60-day notice are aggrieved and entitled to
remedies provided by jaw.

23. As a direct and proximate result of Defendant's violations, Plaintiff - and
others similarly situated have suffered damages to be proven at the time of trial.

24. Plaintiff has retained the services of an attorney to represent her in this
action and, as such, is entitled reimbursement for reasonable attorneys’ fees and
costs.

25. Plaintiff - and others similarly situated - further seek:

a. Back pay for each employee of Defendant terminated or laid off
without 60-day notice pursuant to 29 U.S.C. § 2104(a)(1){A),

b. Benefits for each employee pursuant to 29 U.S.C. § 2104(a)}(1)(B);

Cc. Civil penalties of $500 per day for each day of the violation
pursuant to 29 U.S.C. § 2104(3);

d. Reasonable attorneys’ fees pursuant to 29 U.S.C. § 2104(a)(6):
e. Casts of the suit.
PRAYER FOR RELIEF

WHEREFORE, Plaintiff requests this Court enter an Order in his favor as
Page 6 of 7

 

 

 
GABROY LAW OFFICES

176 S. Green Valley Pkwy., Suite 286

Henderson, Nevada 89012
{702} 259-7777 FAX: (702) 259-7704

Oo fF A DB th

10
1]
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

wi

 

 

Case 2:13-cv-00637-GMN-CWH Document1 Filed 04/15/13 Page 7 of 7

follows:
1. For an award of damages in an amount to be determined at trial;
2. For attorney's fees, interest, costs; and
3. For such further relief as the Court may deem just and proper.

Dated this 15" day of April 2013.

Respectfully submitted,
GABROY LAW OFFICES

BY: /s/ Christian Gabroy
Christian J. Gabroy #8805
Gabroy Law Offices
170 South Green Valley Pkwy
Suite 280
Henderson, NV 89012-3145
(702) 259-7777
christian@gabroy.com

JESSE SBAIH AND ASSOCIATES

By __ /s/ Jesse Sbaih

Jesse Sbaih #7898

The District at Green Valley Ranch

170 South Green Valley Parkway, Suite 280
Henderson, Nevada 89072

Tel (702) 896-2529

Fax (702) 896-0529

Page 7 of 7

 
